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Sn the Gunited States Court of Federal Clains

No, 19-322
Filed: July 19, 2019

 

 

)
ANTHONY SPENCER GREEN, SR.., )
)
Plaintiff, )
)
Vv. )
)
THE UNITED STATES, )
)
Defendant. )
)
ORDER

On February 22, 2019, plaintiff, proceeding pro se, filed his Complaint with this Court.
On April 18, 2019, defendant filed its Motion to Dismiss pursuant to 12(b)(1) and 12(b)(6) of the
Rules of the Court of Federal Claims (“RCFC”). Plaintiff failed to respond to defendant’s
Motion to Dismiss, which was due by May 16, 2019. On June 3, 2019, the Court gave plaintiff
an additional 28 days to file its Response to defendant’s Motion to Dismiss. In that Order, the
Court warned that if plaintiff failed to file its Response to defendant’s Motion to Dismiss,
plaintiffs Complaint would be dismissed without prejudice for failure to prosecute under RCFC
41(b). The Court has not received plaintiff's Response to defendant’s Motion to Dismiss. As
such, the Court has no choice but to DISMISS plaintiffs case without prejudice for failure to
prosecute, pursuant to RCFC 41(b). The Clerk is hereby directed to enter judgment consistent
with this Order.

IT ISSO ORDERED.

 

Loren A. Smith, Senior Judge
